            Case 3:23-md-03084-CRB Document 99 Filed 11/17/23 Page 1 of 11

                                                                              Lieff Cabraser Heimann & Bernstein, LLP
                                                                                          275 Battery Street, 29th Floor
                                                                                        San Francisco, CA 94111-3339
                                                                                                       t 415.956.1000
                                                                                                       f 415.956.1008




                                            November 17, 2023                                     Sarah R. London
                                                                                                           Partner
                                                                                               slondon@lchb.com
VIA ECF
The Honorable Charles R. Breyer
San Francisco Courthouse
450 Golden Gate Avenue
San Francisco, CA 94102

               RE:     In re: Uber Technologies, Inc. Passenger Sexual Assault Litigation, MDL No.
                       3084 CRB

Your Honor:

        I respectfully apply to serve as Co-Lead Counsel of the Plaintiffs’ Steering Committee in this
MDL. Managing this litigation, including addressing the public safety issues and urgent need for justice
and closure for traumatized victims, will require robust leadership with demonstrated success in
advancing complex litigation quickly and dedication to cooperation. I have nearly 15 years of experience
prosecuting mass torts and other complex cases, including leading hundreds of lawyers and thousands
of claimants across multiple jurisdictions to swift, successful resolution. I am honored to have the
support of an experienced and diverse group of colleagues for my application.1

Professional Experience in This Type of Litigation
        My experience managing mass torts and complex litigation, combined with advocacy on behalf
of women and trauma victims, makes me uniquely suited to lead here. I am an “all-around player,” in
that I have a strong background in building and managing effective teams to resolve complex legal and
discovery issues, while also taking key depositions, handling significant experts, interfacing with the
court on case management, and negotiating complex global settlements.
        I currently serve as Liaison and Co-Lead Counsel in In re Juul Labs, Inc., Mkt, Sales Prac. &
Prods. Liab. Litig., No. 19-02913 (N.D. Cal.) (Judge Orrick). This matter involved more than 7,000
lawsuits on behalf of personal injury claimants, an economic injury class, government entities, school
districts, and Native American tribes alleging that JLI and Altria’s (formerly Philip Morris) conduct in
marketing, design and distribution of the Juul e-cigarette contributed to a youth vaping epidemic that
caused myriad public and individual harms.
        I led a large team of law firms through intensive discovery, challenging legal briefing and
arguments, multiple waves of pretrial preparation, bellwether trial, and ultimately, a historic
resolution—all in record time. I also facilitated all communication and scheduling with both Judges
Orrick and Corley. After less than two and a half years, I negotiated a global settlement with JLI and
related Defendants for all four plaintiff groups, including a $255 million class settlement. Following the
JLI settlements, I led our continued litigation against Altria, trying the first bellwether on behalf of San

1 Exhibit A sets forth this support. My experience is also set forth in Exhibit B (Resume), and judges

before whom I have appeared are listed in Exhibit C (Judges and Contact Information).




   San Francisco                 New York                 Nashville                   www.lieffcabraser.com
             Case 3:23-md-03084-CRB Document 99 Filed 11/17/23 Page 2 of 11

District Judge Charles R. Breyer
November 17, 2023
Page 2

Francisco Unified School District (“SFUSD”) in April 2023. Immediately after SFUSD rested its case, we
secured a second aggregate settlement with Altria totaling $235 million.
         Before Juul, I litigated more than 3,000 tobacco cases in the Middle District of Florida. I
managed all aspects of those cases, including motions, expert discovery, defeating due process and
preemption challenges at the district, circuit, and certiorari stages, and trying thirteen jury trials to
verdict, including two as lead trial counsel. I managed four trial teams involving three law firms, while
simultaneously overseeing all aspects of pre-trial, post-trial, and settlement work over multiple waves of
trials spanning two years. Our trial success and overall case management strategy led to an
unprecedented $100 million settlement, the only group settlement to date of cigarette smokers’ injury
claims. I managed the settlement process, achieving 100 percent participation.
        Additionally, I have served in leadership in several litigations, including on the executive
committee in Gilead Tenofovir Cases and Coordinated Actions, JCCP No. 5043, where I am the
Federal-State Liaison. I am also currently serving as Court-Appointed Settlement Class Counsel in the
In re Flint Water Cases, No. 16-10444 (E.D. Mich.) litigation.
         Throughout my career, I have litigated on behalf of women (as well as some men) who have
suffered trauma and highly emotional and physical injuries. For example, I served as co-interim class
counsel in the In re Pacific Fertility Center Litigation, No. 18-01586 (N.D. Cal.) (Judge Corley) and as Co-
Liaison Counsel in a parallel state JCCP proceeding (JCCP No. 5021), advancing negligence and product
liability claims on behalf of women and couples whose eggs and embryos were compromised when a
fertility center storage freezer failed. These cases demanded urgency—every passing month, my clients’
fertility options dwindled due to the unforgiving biological clock. Facing a nearly two-year stay on
discovery in the JCCP after defendants appealed an order denying their motion to compel arbitration,2 I
coordinated with claimants in the federal court action to press ahead on common issues and discovery
and ultimately facilitated global resolution in those cases, bringing closure and emotional relief to
hundreds of families. In my formative years as a young associate, I worked on bellwether cases in the Yaz
birth control injury litigation on behalf of young women, Yasmin and Yaz (Drospirenone) Marketing,
Sales Practices and Products Liability Litigation, MDL 2100, deposing fact witnesses and physicians and
opposing motions. I also have successfully represented women who suffered serious and highly sensitive
personal injuries—and related emotional and sexual trauma—due to complications from allegedly
defective trans-vaginal surgical mesh.
       Additional information regarding my experience and qualifications is contained in Exhibit B. I
have provided a list of the names and contact information of judges before whom I have appeared in
Exhibit C.

Ability to Work Cooperatively With Others
         My most valuable contribution to any coordinated litigation is my ability to work together with
partnering and opposing counsel, utilizing a mix of communication, leadership, and social skills. In
Juul, I managed ans effective, inclusive, and diverse team and coordinated across multiple jurisdictions.
In particular, we worked together with independent leadership in a parallel JCCP, coordinating all
aspects of discovery (core case management orders, depositions, document production, etc.) and
pushing to global settlements. I am proud that many of my colleagues in Juul publicly tout that the
litigation was the best-run and most enjoyable MDL in which they have ever participated. Additionally,
then-Magistrate Judge Corley has remarked that Juul was a model MDL for its civility—a topic on
which I recently presented at a national judge’s conference with Juul’s Liaison Counsel, Renee Smith.
       In addition to my litigation work, I serve in a leadership role in several organizations, including
co-chairing the Resource Board of the National Association of Women Judges. I was recently elected by

2 Based on my clients’ experiences, I lobbied in support of SB 263 to eliminate the automatic stay on discovery

pending appeal of an order denying a motion to compel arbitration under the California Arbitration Act. Governor
Newsom recently signed the bill and it is now in effect.
             Case 3:23-md-03084-CRB Document 99 Filed 11/17/23 Page 3 of 11

District Judge Charles R. Breyer
November 17, 2023
Page 3

my peers to serve as Financial Secretary and member of the Executive Committee for the Consumer
Attorneys of California. Before law school, I was a Coro Fellow in Public Affairs, where I received
intensive leadership training, and was a lobbyist for Planned Parenthood in Kansas, where I learned
how to build coalitions, work across the aisle to find common ground, and resolve disputes respectfully.
        Efforts to coordinate with other plaintiffs’ counsel with diverse skills and backgrounds, many of
whom support this application, are well underway, and will prepare us to efficiently prosecute this
matter. I have given presentations to and led discussions with these lawyers on issues of import to the
case, and in October 2023, my firm convened an all-hands meeting attended by over 25 plaintiffs’ attorneys
to update on the legal and factual issues driving the litigation and address issues of common strategy.

Resources Available to Prosecute the Litigation in a Timely Manner
         Lieff Cabraser Heimann and Bernstein (“LCHB”) is a 126-plus lawyer AV-rated firm founded in
1972, headquartered in San Francisco with offices in New York and Nashville. As one of the nation’s
largest plaintiff-side firms, we can and will commit the human and financial resources necessary to
prosecute this litigation. We have served as court-appointed counsel in hundreds of coordinated and
complex litigations throughout the country. Recent examples in this District include In re McKinsey &
Co., Inc. National Prescription Opiate Consultant Litig. (MDL 2996) and In re Social Media Litigation
(MDL 3047). LCHB was also Co-Lead Trial Counsel in the Opioids MDL bellwether trial before this
Court on behalf of the City of San Francisco. LCHB’s main office is conveniently located near the Court.
We have extensive facilities necessary to host depositions and conferences and to serve as litigation and
trial team headquarters. Our team is also highly experienced in managing all administrative aspects of
leading a modern MDL, including maintaining an updated case website, hosting virtual meetings,
tracking filings, maintaining service lists, processing invoices, auditing timekeeping, and handling data.

Present and Future Ability to Commit to Time-Consuming Litigation
         I appreciate the time, energy, and resources necessary for effective leadership. With the Juul
litigation largely resolved, I can confirm that I have sufficient time and capacity to lead this case. The
experienced and diverse LCHB team anticipated to work on this matter also includes partners Elizabeth
J. Cabraser and Andrew R. Kaufman, along with associates Caitlin Woods (Nelson) and Annie Wanless.
       LCHB represents dozens of women who have suffered from sexual misconduct caused by Uber,
including in 2 cases filed to date.3 Not only am I an advocate, I am also a survivor of sexual assault. My
personal experience shapes my perspective and fuels my drive to obtain justice. I look forward to the
opportunity to use my skills, experience and resources to quickly and effectively drive resolution for
victims and implement reforms that will make the industry safer for future passengers.


                                                Respectfully,


                                                Sarah R. London
2870143.2




3 M.FA. v. Uber Techs. Inc., No. 3:23-cv-05560; M.S. v. Uber Techs., Inc., No. 3:23-cv-05915
       Case 3:23-md-03084-CRB Document 99 Filed 11/17/23 Page 4 of 11




                                     EXHIBIT A

    [Proposed] Plaintiffs’ Leadership Group (“PLG”)
Co-Leads:
Rachel Abrams
Peiffer Wolf Carr Kane Conway & Wise
rabrams@peifferwolf.com

Sarah London
Lieff Cabraser Heimann & Bernstein
slondon@lchb.com

Roopal Luhana
Chaffin Luhana LLP
Luhana@chaffinluhana.com


Plaintiffs’ Executive Committee
Marlene Goldenberg
Nigh Goldenberg Raso & Vaughn
mgoldenberg@nighgoldenberg.com

Ellyn Hurd
Simmons Hanly Conroy
ehurd@simmonsfirm.com

Sara Peters
Walkup, Melodia, Kelly & Schoenberger
speters@walkuplawoffice.com

Bret Stanley
Pulaski Kherkher
bstanley@pulaskilawfirm.com
        Case 3:23-md-03084-CRB Document 99 Filed 11/17/23 Page 5 of 11




Plaintiffs’ Steering Committee
 Alyson Steele Beridon                          Andrea Hirsch
 HSGLaW                                         Cohen Hirsch
 alyson@hsglawgroup.com                         andrea@cohenhirsch.com

 Michael Carney                                 Sommer Luther
 Slater Slater & Schulman                       Wagstaff Law
 mcarney@sssfirm.com                            sluther@wagstafflawfirm.com

 Erin Copeland                                  Karen Barth Menzies
 Fibich Law                                     KBM Law
 ecopeland@fibichlaw.com                        kbm@kbmlaw.com

 Tracey Cowan                                   Meredith Stratigopoulos
 Clarkson Law Firm                              Watts Guerra
 tcowan@clarksonlawfirm.com                     mdrukker@wattsguerra.com

 Adam Gomez                                     Alexandra Walsh
 Grant Eisenhofer                               Walsh Law
 agomez@gelaw.com                               awalsh@alexwalshlaw.com

 Layne Hilton
 Meyer Wilson
 lhilton@meyerwilson.com


Plaintiffs’ Liaison Counsel
Khaldoun Baghdadi
Walkup, Melodia, Kelly & Schoenberger
kbaghdadi@WalkupLawOffice.com

Coordination with JCCP Counsel
The PLG has had ongoing discussions with members of the JCCP Leadership to coordinate
proposed MDL leadership but has not reached an agreement. To facilitate coordination with the
MDL and the JCCP, the PLG proposes that the following counsel be added to the Proposed
Leadership Group.

Brian Abramson as a member of the Plaintiffs’ Steering Committee
Williams Hart Boundas

Celine Cutter (JCCP) as Plaintiffs’ Liaison Counsel
Cutter Law Group
            Case 3:23-md-03084-CRB Document 99 Filed 11/17/23 Page 6 of 11




                                           EXHIBIT B

                                     SARAH R. LONDON
                         Lieff Cabraser Heimann & Bernstein, LLP
               Complete curriculum vitae and profiles available at lieffcabraser.com


EDUCATION:            University of California, Berkeley, School of Law (Berkeley Law),
                      Berkeley, California, J.D. – 2009
                      Honors: Order of the Coif

                      Northwestern University, Evanston, Illinois
                      B.A. (Cum Laude) – 2002

MDL
EXPERIENCE:           Ms. London has fifteen years of experience representing plaintiffs in
                      aggregate litigation. She has served in court-appointed roles in MDLs,
                      JCCPs, and class actions: Co-Lead and Liaison Counsel in In re Juul Labs,
                      Inc., Mkt, Sales Prac. & Prods. Liab. Litig., No. 19-02913 (N.D. Cal.)
                      (Orrick, J.); Federal-State Liaison & Plaintiffs’ Executive Committee, Gilead
                      Tenofovir Cases and Coordinated Actions, JCCP No. 5043; Settlement Sub-
                      Class Counsel, In re Flint Water Cases, No. 16-10444 (E.D. Mich.); Co-
                      Interim Class Counsel, In re Pacific Fertility Center Litigation, No. 18-01586
                      (N.D. Cal.); Co-Liaison Counsel, Pacific Fertility Cases, JCCP No. 5021.

PERSONAL
PROFILE:              Sarah London is a determined, skilled, and experienced advocate for the
                      injured, employees, and consumers. Named as a 2023 Daily Journal Top
                      Plaintiffs’ Lawyer and Super Lawyer every year since 2019, Sarah had
                      previously been named a Super Lawyers Rising Star from 2012 through
                      2019. She was 2015 finalist for the Consumer Attorneys of California
                      Streetfighter of the Year Award, and has held multiple leadership positions
                      in the Consumer Attorneys of California, including her current position as
                      Parliamentarian on the Executive Committee. In September 2019, Sarah
                      was appointed Chair of the Resource Board of the National Association of
                      Women Judges.

                      Sarah is an accomplished trial lawyer, having served (often in a lead role)
                      on sixteen trial teams. Sarah’s victories include a $41.1 million plaintiff’s
                      verdict. She regularly speaks on the topics of MDL leadership, pre-trial and
                      trial skills, and litigating sexual assault cases.

FIRM
PROFILE:              Lieff Cabraser has participated in many of the most important class and
                      cases in the U.S., helping recover over $129 billion in verdicts and
                      settlements for our clients nationwide. Our service as court-appointed



2892351.1
            Case 3:23-md-03084-CRB Document 99 Filed 11/17/23 Page 7 of 11




                     counsel in MDLs and class actions includes 92 cases with verdicts or
                     settlements valued at $100 million or more, with 28 cases in excess of
                     $1 billion, including: $42 billion in Tobacco settlements (Lieff Cabraser
                     represented several states’ Attorneys General and 18 California cities and
                     counties); over $14 billion paid in settlements of the Volkswagen “Clean
                     Diesel” emissions fraud; over $11 billion paid in the BP Deepwater Horizon
                     class settlement; $6.25 billion reparations to Holocaust victims in the Swiss
                     Banks, Austrian, and German Holocaust Cases; $4.75 billion in Diet Drugs
                     litigation (with over $350 million for individual clients); and over $5 billion
                     in the Silicone Gel Breast Implants class action settlements and Dow
                     Corning bankruptcy proceedings. In January of 2021, The American Lawyer
                     named Lieff Cabraser its “Boutique/Specialty Litigation Firm of the Year.”
                     Six partners were named to Lawdragon’s “500 Leading Lawyers” for 2021,
                     with two partners named to the publication’s “Hall of Fame.” Best Lawyers’
                     2021 rankings include thirty individual “Best Lawyer” lawyer listings as well
                     as thirteen tier-one placements (including national mass tort/class actions)
                     and three California “Lawyer of the Year” rankings for antitrust, product
                     liability, and mass tort class actions. In August of 2023, Law360 named our
                     firm a “California Powerhouse,” one of only six firms in the state that
                     “scored billion-dollar settlements in large class actions, won victories
                     against drug companies that contributed to the opioid epidemic, and
                     managed significant deals even as the state’s legal market shifted and
                     attorneys returned to the office.” For the last two consecutive years, U.S.
                     News and Best Lawyers have ranked our firm in their National Tier 1 for
                     Class Actions and Mass Tort Litigation. In 2022, the New York Law Journal
                     named us its “Class Action Litigation Department” of the year. In April of
                     2021, Benchmark Litigation named Lieff Cabraser its “California Plaintiff
                     Firm of the Year” for the third year in a row. In December 2019, The
                     American Lawyer included Lieff Cabraser as the only all-plaintiff-side firm
                     in its “Top 50 Litigation Departments in the U.S. In 2019, Law360 named
                     Lieff Cabraser “Class Action Firm of the Year,” and Public Justice awarded
                     Lieff Cabraser its “Trial Lawyer of the Year” award.




2892351.1
     Case 3:23-md-03084-CRB Document 99 Filed 11/17/23 Page 8 of 11




                                     EXHIBIT C

                                  Sarah R. London
                      Lieff Cabraser Heimann & Bernstein, LLP
               275 Battery Street, 29th Floor | San Francisco, CA 94111
                     Tel.: (415) 956-1000 | Fax: (415) 956-1008
                         slondon@lchb.com | www.lchb.com

LIST OF NAMES AND CONTACT INFORMATION OF JUDGES

Judge William H. Orrick
U.S. District Judge, N.D. California
In re Juul Labs, Inc., Mkt, Sales Prac. & Prods. Liab. Litig., No. 3:19-md-02913
San Francisco Courthouse, Courtroom 2
450 Golden Gate Avenue
San Francisco, CA 94102
(415) 522-2077

Judge Jacqueline Scott Corley
U.S. District Judge, N.D. California
In re Pacific Fertility Center Litigation, Case No. 3:18-cv-01586
San Francisco Courthouse, Courtroom 8
450 Golden Gate Avenue
San Francisco, CA 94102
(415) 522-2015

Judge Judith E. Levy
U.S. District Judge, E.D. Michigan
In re Flint Water Cases, No. 5:16-cv-10444
Federal Building
200 E. Liberty Street, Suite 300
Ann Arbor, MI 48104
(734) 887-4700

Judge Teri L. Jackson
Judge, Superior Court of California, County of San Francisco
Pacific Fertility Cases, Case No. CJC-19-005021, JCCP No. 5021
Superior Court of California, Department 206
400 McAllister Street
San Francisco, CA 94102
(415) 551-3840

Judge Andrew Y.S. Cheng
Judge, Superior Court of California, County of San Francisco
Gilead Tenofovir Cases and Coordinated Actions, JCCP No. 5043



2892075.2
     Case 3:23-md-03084-CRB Document 99 Filed 11/17/23 Page 9 of 11




Superior Court of California, Department 613
400 McAllister St.
San Francisco, CA 94102
(415) 551-3840

Judge William G. Young
U.S. District Judge, D. Massachusetts
In re Engle Cases, No. 3:09-cv-10000 (M.D. Fla.)
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, MA 02210
(617) 748-9156

Judge Anthony Porcelli
U.S. Magistrate Judge, M.D. Florida
In re Engle Cases, No. 09-10000 (M.D. Fla.) (settlement proceedings)
Federal Building, Courtroom 10A
2110 First Street
Fort Myers, Florida 33901
(813) 301-5540

Judge Timothy J. Corrigan
U.S. District Judge, M.D. Florida
In re Engle Cases, No. 3:09-cv-10000 (M.D. Fla.)
Bryan Simpson United States Courthouse, Courtroom 10D
300 North Hogan Street
Jacksonville, FL 32202
(904) 549-1300

Judge Ralph R. Erickson
U.S. Court of Appeals Judge, 8th Circuit
Kerrivan v. R.J. Reynolds Tobacco Co., No. 3:09-cv-13703 (M.D. Fla.)
Thomas F. Eagleton Courthouse
111 South 10th Street
St. Louis, MO. 63102
(701) 297-7080

Judge Robert C. Jones
Senior U.S. District Judge, D. Nevada
Burkhart v. R.J. Reynolds Tobacco Co., No. 3:09-cv-10727 (M.D. Fla.)
Lloyd D George Courthouse
333 Las Vegas Blvd South
Las Vegas, NV 89101
(702) 464-5400

Judge M. Casey Rodgers
U.S. District Judge, N.D. Florida
Reider v. R.J. Reynolds Tobacco Co., No. 3:09-cv-10465 (M.D. Fla.)
2892075.2
     Case 3:23-md-03084-CRB Document 99 Filed 11/17/23 Page 10 of 11




Winston E. Arnow Federal Building
100 N. Palafox St.
Pensacola, FL 32502
(850) 435-8448

Judge Edmund A. Sargus, Jr.
U.S. District Judge, S.D. Ohio
Harris v. R.J. Reynolds Tobacco Co., Case No. 3:09-cv-13482 (M.D. Fla.)
Joseph P. Kinneary U.S. Courthouse, Room 301
85 Marconi Boulevard
Columbus, OH 43215
(614) 719-3240

Judge K. Michael Moore
U.S. District Judge, S.D. Florida
Searcy v. R.J. Reynolds Tobacco Co., Case No. 3:09-cv-13723 (M.D. Fla.)
Wilkie D. Ferguson, Jr. United States Courthouse
400 North Miami Avenue - Room 13-1
Miami, FL 33128
(305) 523-5160

Judge Roger T. Benitez
U.S. District Judge, S.D. California
Gray v. R.J. Reynolds Tobacco Co., Case No. 3:09-cv-13603 (M.D. Fla.)
Edward J. Schwartz United States Courthouse
221 West Broadway, Courtroom 5A
San Diego, CA 92101
(619) 446-3589

SPECIAL MASTERS

Thomas Perrelli
Partner and Chair of Jenner & Block
Settlement Special Master
In re Juul Labs, Inc., Mkt, Sales Prac. & Prods. Liab. Litig., No. 3:19-md-02913
Jenner & Block LLP
1099 New York Avenue, N.W.
Suite 900, Washington, DC 20001-4412
(202) 639-6004
Email: TPerrelli@jenner.com

Judge Gail Andler (Ret.)
Arbitrator/Mediator/Special Master
In re Juul Labs, Inc., Mkt, Sales Prac. & Prods. Liab. Litig., No. 3:19-md-02913-WHO
In re Pacific Fertility Center Litigation, Case No. 3:18-cv-01586-JSC
JAMS
(714) 937-8258 (Administrative Practice Manager – Matthew Levington)
Email: gandler@jamsadr.com
2892075.2
     Case 3:23-md-03084-CRB Document 99 Filed 11/17/23 Page 11 of 11




Deborah Greenspan
Partner Mass Torts and Complex Disputes at Blank Rome
Special Master
In re Flint Water Cases, No. 5:16-cv-10444 (E.D. Mich.)
Blank Rome LLP
1825 Eye Street NW
Washington, DC 20006
(202) 420-3100
Email: deborah.greenspan@blankrome.com




2892075.2
